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regarding NPC is woefully absent. For example, Suffolk alleges as RICO predicate acts the defendants’ use of the
mail and interstate wire facilities to disseminate “[w]ritten representations of the false and inflated AWP s for
Covered Drugs as set forth in Exhibit A made to the Redbook and similar publications .. .” (Cpit. 9342[b];
emphasis added). Notably, there are no NPC drugs “set forth in Exhibit A.” Nor does the Complaint elsewhere
identify any alleged false or inflated AWPs as to NPC. Likewise, Suffolk contends that defendants conducied or
participated in the conduct of the affairs of the identified RICO enterprises by having “directly controlled the false
and inflated AWPs that are reported in the Redbook as set forth in Exhibit A and similar industry publications.”
Id, $343(b) (emphasis added). Yet, Suffolk has not included any NPC drugs in Exhibit A or pled with
particularity any other participation by NPC in the affairs of the so-called “Novartis Manufacturer-Publisher
Enterprises” (id. [341 [u]).

Suffolk also asserts “thousands of communications” by defendants in which they purportedly
disseminated marketing materials, forwarded free samples of drugs, provided information or incentives to reduce
or conceal prices paid for drugs, discussed financial inducements, misrepresented AWPS which induced payment
for drugs in reliance on AWPs and received proceeds of the AWP Inflation Scheme. Jd. 1342. But, Suffolk
apparently concedes that it has no facts to support these allegations with respect to NPC, since it claims that “[t]he
facts surrounding Novartis’s discounting and rebate activities . . . will be revealed by discovery” (id. 4266). See
also id. $265 (claiming that the “full impact” of NPC’s alleged failure to report Best Price will be revealed through
“discovery of Novartis’s promotional, discounting and pricing practices”). Suffolk thus proposes that it first
conduct a fishing expedition to find a cause of action and then satisfy Ruk 9(b)’s pleading requirements as to such
claim. To the contrary, where, as here, fraud is claimed based on “information and belief,” supporting facts must
be pled even where these facts are alleged to be “peculiarly within the perpetrator’s knowledge.’” Walsh, 98 F.
Supp. 2d at 147 (citation omitted); see also Wayne Investment, Inc., 7139 F.2d at 14 (citations omitted). Indeed,
Suffolk itself claims it already has conducted an “investigation” in this area (Cplt. 447, 13; Ex. A) and reviewed
“extensive and ongoing Congressional and federal investigations” (id. 7). Having done so, Suffolk’s failure to
plead any facts on which to state a chim against NPC itself constitutes a compelling admission that such facts do

not exist. Varney, 118 F. Supp. 2d at 68 (“It is fair to expect a phintiff to state the particulars and, if she does

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not, to conclude that sufficient particulars do not exist.”). Thus, Counts I-III, V, VII and VIII must be dismissed _

as toNPC. See also Def. Mem. at Point III.
IE. COUNT VI FAILS TO STATE A CLAIM AS TO NPC, .
In Count VI, Suffolk seeks damages based on defendants’ alleged breaches of their individual rebate

agreements with the Secretary of Health and Human Services (Cplt. (385-91). It is axiomatic that a complaint
must be dismissed under Rule 12(b)(6) where it fails to meet Fed. R. Civ. P. 8(a)(2)’s mandate to include a “short
and plain statement of the claim showing that the pleader is entitled to relief.” A claim for breach of contract fails
to meet this standard where “(t]he plaintiff does not state any facts regarding the alleged breach.” Wildfire {~
Communications, Inc. v. Grapevine, Inc., Civ. No. 00-CV-12004-GAO, 2001 U:S. Dist. LEXIS 18238, at *6 (dD.
Mass. Sept. 28, 2001) (For the Court’s convenience, a copy of this case is attached as Exhibit A).
Here, Suffolk merely states in conclusory fashion that defendants “did not report the actual ‘[B]est

[P]rice’” for their drugs and “have therefore breached their rebate agreements” (Cplt. 890-91). However, Suffolk
Jails to plead any facts regarding such alleged breach by NPC, including identifying the particular drug or Best
Price allegedly involved in the breach. As established above, the only NPC drug identified in the Complaint is
Clozaril and there is no specific allegation of NPC’s reporting of a fraudulent “Best Price” ~ or even any “actual”
Best Price — for Clozaril. As the court held in Wildfire Communications, “{t]he mere legal conclusion that a
breach has occurred does not satisfy the Rule 8 requirement of a short and plain statement of the claim.” 2001
U.S. Dist. LEXIS 18238, at *6. Thus, Count VI must be dismissed as to NPC.

CONCLUSION
For the reasons set forth above, in Defendants’ Consolidated Memorandum and in individual

defendants’ memoranda, the Court should ‘dismiss all claims with prejudice as to NPC.

Dated: Boston, Massachusetts Dhins LAAs LZ Oncess J Lay BE
)

September 15, 2003 Karen F. Green (BBO# 209050
HALE AND DORR LLP

Of counsel: 60 State Street
Jane W. Parver Boston, Massachusetts 02109
KAYE SCHOLER LLP Telephone: (617) 526-6000
425 Park Avenue Facsimile: (617) 526-5000
New York, New York 10022
Telephone: (212) 836-8000 Attorneys for Novartis Pharmaceuticals Corp.

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EXHIBIT A

WILDFIRE COMMUNICATIONS, INC., Plaintiff v. GRAPEVINE, INC.,
d/b/a WILDFIRE INTERNET SERVICES, Defendant

CIVIL ACTION NO. 00-CV-12004-GA0

UNITED STATES DISTRICT COURT FOR THE DISTRICT OF
MASSACHUSETTS

2001 U.S. Dist, LEXIS 18238

September 28, 2001, Decided

DISPOSITION: [*1] Defendant's motion to dismiss complaint for lack of personal
Jurisdiction was granted.

CASE SUMMARY

PROCEDURAL POSTURE: Plaintiff Massachusetts company brought on action against
defendant Illinois company alleging trodemork infringement under 1S_U.S.C.S.
#2 L114(1), 1125(a), (c), (d), Mass, Gen. Laws ch. 110B, @ 12, ch. 93A aa 2,
11, unfair competition, and breach of contract. The Illinois company moved to
dismiss the breach of contract cloim under Fed. &. Civ. P. 12¢b)(6) and to
dismiss the case,-or to transfer venue for lack of personal Jurisdiction.

OVERVIEW: The complaint alleged the Illinois company breached one or more
Provisions of the contract, and incorporated the contract, without stating any
facts as to the alleged breach, It was insufficient under Fed. R. Civ. P. &. The
court found the Massachusetts company failed to prove sufficient minimum
contacts by the Illinois company for personal Jurisdiction. The Illinois company
had (1) three web pages accessible from Massachusetts, (2) a contract with a
Massachusetts company for the sale of a domain name, governed by Masscchusetts
low but not containing a forum-selection clause; and (3) a one-time,
unsuccessful solicitation of a Massachusetts company for an internet
advertisement. There wos no evidence of Massachusetts customers or regular
solicitation of business in Massachusetts. The Illinots company could only
Provide internet service to customers in an Illinois area code. While
Massachusetts residents could purchase the Illincols company's services off of
one web page or utilize free services of another page, the existence of the
Pages alone, without any evidence of actudl purchases by Massachusetts customers
or direct solicitation of Massachusetts customers, wos insuffictent.

OUTCOME: The Illinois company's motion to dismiss the contract claim for
failure to state a claim was granted. The Illinois company's motion to dismiss

the complaint for lack of personal Jurisdiction was granted,

CORE TERMS: wildfire, internet, personal Jurisdiction, motion to dismiss,
customers, domain, forum state, purposeful, availment, prong, area code,
software, com, principal place of business, exercise of Jurisdiction, common
law, foreseeable, trademark, haled, breach of contract, business card, web,
solicitation, supplemental, accessible, discovery, tortious, websites, solicit,
site

LexisNexis (TM) HEADNOTES - Core Concepts - Hide Concepts

Civil Procedure: Pleading & Practice: Pleadings: Interpretation
Civil Procedure, Pleading s Practice: Defenses, Oblections @ Demurrers:

Motions to Dismiss

{HN1] In evaluating a motion to dismiss, the court must take as true all

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well-pleaded facts and draw all reasonable inferences favorable to the
complainant. However, the standard that the complaint include a short and plain
Statement of the claim showing that the pleader is entitled to relief, Fed, R.
Civ. P, 8€a)(2), is not toothless.

Civil Procedure: Pleading & Practice: Defenses, Oblections g¢ Demurrers:

Follure to State q Couse of Action

{HN2] Fed. R. Civ. P. 12(b)(6) allows the plaintiff a highly deferential
reading of the complaint, however, the rule does not entitle a plaintiff to rest
on subjective characterizations or conclusory descriptions of a general scenario
which could be dominated by unpleaded facts.

Civil Procedure: Pleading # Practice: Defenses, Oblections & Demurrers:
Failure to State a Cause of Action

{HN3] The mere legal conclusion that a breach of contract has occurred
does not satisfy the Fed. R. Civ. P. 8 requirement of a short and plain
statement of the claim.

Personal Jurisdiction

(HN4] A plaintiff bears the burden of demonstrating that defendant's
conduct satisfies the state's long-arm statute and that the exercise of personal
Jurisdiction in the case comports with the strictures of the United States
Constitution.

Civil Procedure: Jurisdiction: Personal Jurisdiction & In Rem Actions:

Persona) Jurisdiction

[HN5] A court will use the prima facie standard for analyzing a motion
to dismiss for want of personal Jurisdiction. Under this standard, the court
will consider only whether the plaintiff has proffered evidence that, if
credited, 1s enough to support findings of all facts essential to personal
Jurisdiction. The plaintiff ordinarily cannot rest upon the Pleadings, but jis
obliged to adduce evidence of specific facts,

t Per al tion & Ac S:

Personal Jurisdiction
CHN6] See Mass. Gen. Laws ch. 223A, a 3.

Civil Procedure: Jurisdiction: Personal Jurisdiction In Rem Actions:

Constitutional Limits

{HN7] Constitutional due process requires that a defendant have certain

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minimum contacts with the forum state before personal Jurisdiction may be
recognized so that the exercise of Jurisdiction does not offend traditional
notions of fair play ond substantia] Justice. The three requirements of this
minimum contacts test ore: (1) relatedness; (2) purposeful availmenty and (3)
reasonableness. A plaintiff must satisfy all three prongs of this test to meet
the due process requirements, ‘

: : Gict S:
Constitutional Limits

C[HN8} Under the three-part minimum contacts analysis for personal
Jurisdiction, (1) the claim underlying the litigation must directly arise out
of, or relate to, the defendant's forum-state activitles; (2) the defendant's
in-state contacts must represent a purposeful availment of the privilege of
conducting activities in the forum state, thereby invoking the benefits and
Protections of that state's laws and making the defendant's involuntary presence
before the state's courts foreseeable; and (3) the exercise of Jurisdiction
Must, in light of several factors, be reasonable. The purposeful availment prong
of the test focuses on the deliberateness of the defendant's contacts with the
forum state and requires that the contracts be voluntary, and foreseeable such
that the defendant could reasonably be able to anticipate being haled into court
in the forum state.

COUNSEL: For WILDFIRE COMMUNICATIONS, INC,., Plaintiff: Paul J. Hayes, Paul J.
Cronin, Kevin Gannon, Eugene A. Feher, Weingarten, Schurgin, Gagnebin & Hayes,
Robert R. Gilman, Weingarten, Schurgin, Gagnebin & Hayes LLP, Boston, MA.

For GRAPEVINE, INC., Defendant: Anthony A. Froio, Robins, Kaplan, Miller @
Ciresi, Bostan, MA.
f

For GRAPEVINE, INC., Defendant: Todd Hendrickson, Hendrickson & Glover, L.C.,
Clayton, MI.

JUDGES: George A. O'Toole, Jr., DISTRICT JUDGE.
OPINIONBY: George A. O'Toole, Jr.
OPINION: MEMORANDUM AND ORDER
September 28, 2001
O'TOOLE, D.J.

The plaintiff, Wildfire Communications, Inc. (*Wildfire"), o Delaware
corporation with its principal place of business in Lexington, Massachusetts,
originally brought this action in September 2000 alleging that the defendant,
Grapevine, Inc., d/b/a/ Wildfire Internet Services ("Grapevine"), an Illinois
corporation with its principal place of business in Granite City, Illinots,
infringed upon plaintiff's trademark in violation of 15 U.S.C. @ 11241),
ISULS.C, 99 1125(a), (c), (d), [*2] Mass. Gen. Lows ch.110B, @ 12, Mass,

Gen, Laws ch. 93A aa 2 and 11, and the common low. The plaintiff further alleged
that the defendant engaged tn unfair competition under the common law. Grapevine

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moved ta dismiss the Complaint, or in the alternative to transfer venue, on the
ground that this Court does not have personal Jurisdiction.

In February 2001, the plaintiff filed an Amended Complaint adding a claim for
breach of a contract between the plaintiff ond the defendant for the sale of the
domain name “wildfire.net," which the parties signed tn 1996. Grapevine moved to
dismiss the breach of contract claim under Fed. R. Civ. P. 12(b)(6). This motion
is GRANTED. Grapevine's motion to dismiss the Amended Complaint under Fed. R.
Civ, P. 12(b)(2) for lack of personal Jurisdiction is alsa GRANTED, ni

fl The defendant's motion for leave to file a reply brief to plaintiff's
opposition to defendant's motion to dismiss is GRANTED. The plaintiff's motion
to strike the supplemental affidavit of George H. Sykes, Jr. is DENIED.

(*3] I. Background

Wildfire develops, manufactures, markets and sells telecommunications,
telephony, Internet and computer-related goods and services, including computer
hardware and software for use in communications management and control. The
Plaintiff markets and sells its goods and services under its trademark
"Wildfire," as well as the name "Wildfire Communications, Inc," in connection
with its company and its goods and services. The plaintiff has used both names
since at least as early os 1994. Am. Compl. PP 4, 5,

Grapevine markets ond sells Internet services such as World Wide Web site
developing and hosting, and Internet applications, products, and services.
Grapevine markets these services on the Internet under the domain names
“wildfire.net® and "wildfireinternet.com." Am, Compl. P 13. Grapevine operates
as an Internet Service Provider ("ISP") under the name Wildfire, providing local
ISP services exclusively to the 618 area code in southern Illinois. Grapevine
cannot provide this service outside of the 618 area code. Sykes Aff. PP 4-6. In
August 1995, Grapevine contacted Wildfire via e-mail in an effort to market
defendant's internet “business card" product to the plaintiff(*4] for $
14.95/month. Plaintiff did not purchase the business card product. Sykes Dep. at
109-12.

In 1996 the plaintiff offered to purchase the domain name “wildfire.net" from
the defendant for $ 10,000. The parties signed a contract to that effect on or
about October 17, 1996. Compl. Ex. D.

Grapevine owns and operates three websites, which are accessible to anyone
with Internet access anywhere in the world. The three websites are: Wildfire
Internet, WakeUpMoney, and GolfTracker, The services provided at the Wildfire
Internet site are described above. WakeUpMoney is a software develooment and
Internet implementation product that factlitates e-commerce for Grapevine
customers. GolfTracker is free, server-based softwore, which Grapevine placed in

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the public domain and which allows golfers to track their handicaps and scores,
Supplemental Affidavit of George H. Sykes, President and CEO of Grapevine PP 3,
4, 7, 9.

II. Motion to Dismiss under Fed. R.Civ.P. 12(b) (6)

A. Standard of Review

{HN1] In evaluating a motion to dismiss, the Court must take as true
all well-pleaded facts and draw al] reasonable inferences favorable to the
complainant. See Papgsan v, Allain. 478 U.S, 265, 283, 927 1, Fd, 2d 209,

106 S.Ct, 2932 (1986)31°5) Correq-Martinez v. Arrillagg-Belendez, 903 F.2d
49,52 (ist Cir, 1990), However, the standard that the complaint include a
“short and plain statement of the claim showing that the pleader is entitled to
rellef," Fed. 8. Civ. P. 8(a)(2), is not toothless. See Burnett y,

Gratton, 468 U.S, 42, 50-53 n.J3, 82 J, Fd, 2d 36, 104 S, Ct, 2924 (1984)
(stating that an inJured person “must look ohead to the responsibilities that
immediately follow filing a complaint . . . fond! be prepared to withstand
varfous responses, such as a motion to dismiss," and noting thot “although the
Pleading and amendment of pleadings rules in federal court are to be liberally
construed, the administration of Justice 1s not well served by the filing of

premature, hastily drawn complaints"). (HNZ] Rule 12(b)(6) allows the
Plaintiff a highly deferential reading of the complaint, however, the rule “does

not entitle a plaintiff to rest on ‘subjective characterizations' or conclusory
descriptions of ‘a general scenario which could be dominated by unpleaded

Tacts.'" Correg-Marinez, 903 F.2d ot 53 (quoting Dewey v. University of

New Hompshire, 694 F.2d 1, 3 (ist Cir, 1982).[°6)

B. Discussion

In this case, the plaintiff has net met the burden required by the rules of
notice pleading, and accordingly the motion to dismiss Count IX of the Amended
Complaint is granted, The breach of contract claim alleges that defendant “has
breached one or more provisions*® of the contract, and simply incorporates the
contract into the Amended Complaint as Exhibit D. The plaintiff does not state

any facts regarding the alleged breach. {HN3] The mere legal conclusion
that a breach has occurred does not satisfy the Rule 8 requirement of a short
and plain statement of the claim.

III. Motion to Dismiss under Fed, R. Civ. P. 12(b)}(2): Specific Personal
Jurisdiction

A, Standard of Review

[HN4) The plaintiff bears the burden of demonstrating that

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defendant's conduct satisfies the Massachusetts Long-Arm statute ond that the
exercise of personal Jurisdiction in this case “comports with the strictures of

the Constitution." Foster-Miller, Inc, v, Bobcock & Wilcox Canada, 46 F.3d
138, 144-45 (ist Cir, 1995) (quoting Pritzker v. Yori, 42 F.3d 53, 60 (ist

Cir, 1994)) (other citations omitted). THN5] The Court will use the
prima facie standard for anolyzing{*7] a motion to dismiss for wont of personal
Jurisdiction as outlined by the First Circuit. Under this standard, the Court
will “consider only whether the plaintiff has proffered evidence that, if
credited, is enough to support findings of all facts essential to personal
Jurisdiction." The plaintiff ordinarily cannot rest upon the pleadings, but is
obliged to adduce “evidence of specific facts." Foster-Miller, 46 F.3d ot

145 (quoting Boit v, Gar-Tec Prods., Inc.,. 967 F.2d 671, 675 (jst Cir.

1992)). While Section 3(c) of the Massachusetts Long-Arm statute n2 arguably
reaches the defendant, plaintiff fails to meet the burden of proving the due
Process requirements for establishing personal Jurisdiction over a non-resident
defendant.

n2 {HN6] Section 3 of the Massachusetts Long-Arm statute reads in
pertinent part: "A court may exercise personal Jurisdiction over a person, who
acts directly or by an agent, as to a cause of action in law or equity arising
from the person's . . . (¢) causing tortious inJury by an act or omission in
this commonwealth. . . ." Mass, Gen. Lows ch. 223A, a 3, The Court assumes that
defendant's alleged trademark infringement would constitute @ tortious injury in
the Commonwealth despite the fact that the Complaint does not clearly plead the
specifics of any injury.

[*8] CHN7]

Constitutional due process requires thot o defendant have certain "minimum
contacts" with the forum state before personal Jurisdiction may be recognized so
that the exercise of Jurisdiction does not offend "traditional notions of fair
play and substantial Justice." Internotional Shoe Co. v, State of
Washington, 326 U.S, 310, 316, 90 1, Fd. 95, 66 $. Ct. 154 (1945), The three
requirements of this "minimum contacts" test are: (1) relatedness: (2)
purposeful availments and (3) reasonableness. See Burger King Corp, vy,
Rudzewicz, 47] U.S, 462, 472-78, 85 |, Fd, 2d 528, 105 S, Ct, 2174 (1985), A
Plaintiff must satisfy all three prongs of this test to meet the due process
requirements, The First Circuit {lluminated these prongs with a three-part
analysis:

{HN8]
First, the claim underlying the litigation must directly arise out of, or relate
to, the defendant's forum-state activities. Second, the defendant's in-state

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contacts must represent a purposeful availment of the privilege of conducting
activities in the forum state, thereby invoking the benefits and protections of
that state's laws and making the defendant's involuntary presence before the
state'si*9] courts foreseeable, Third, the exercise of jurisdiction must, in
light of the Gestalt factors, be reasonaple,

Eoster-Miller, 46 F,3d at 144 (citing United Elec. Radio and Mach.
Workers Vv. 163 Pleasant St. Corp., 960 F.2d 1080, 1089 (1st Cir. 1992)),

The purposeful availment prong of the test focuses on the deliberateness of the
defendant's contacts with the forum state and requires that the contracts be
voluntary, see Burger King, 471, U.S. at 474-75, and foreseeable such that the
defendant could reasonably be able to onticipate “being haled into court" in the

forum state. World Wide Volkswagen Corp, v, Woodson, 444 U.S, 286, 297, 62
LL£d. 24 #90, 100 S, Ct. 559 (1980).

B. Discussion

The plaintiff does not satisfy the second prong of the “minimum contacts"
test because it has failed to allege sufficiently the defendant's purposeful
availment of the laws and privileges of the Commonwealth. The sum of defendant's
contacts with Massachusetts include three web pages that are accessible from
Massachusetts; a contract with a Massachusetts corporation for the sale of a
domain name, which {is governed by a Massachusetts choice-of-lawl*101 provision
but which does not contain a forum-selection clause; and a one-time,
unsuccessful solicitation of a Massachusetts corporation for an internet
advertisement at a price of $ 14.95/month. The plaintiff has proffered no
evidence that the defendant has any Massachusetts customers or that it regularly
solicits business in Massachusetts. n3 Wildfire solicited the purchase of the
defendant's domain name, which resulted in the 1996 contract. Grapevine's
web-pages do not directly solicit Massachusetts customers, and in fact, so far
as appeors from the record, Grapevine can only provide Internet service to
customers In the 618 area code, which 1s located in southern Illinois.
Massachusetts residents could theoretically purchase defendant's services off of
its WakeUpMoney.com web page or utilize the free services of GolfTracker,com,
but the existence of the pages alone, without any evidence of actual purchases
by Massachusetts customers or direct solicitation of Massachusetts customers, is
not sufficient to satisfy the “minimum contacts" required.

n3 Though Wildfire argues that its efforts at discovery addressed to
Grapevine's Massachusetts contacts have been stymied, it rather appears that
Wildfire has been quiescent in seeking to pursue any further discovery.

C*1l)
Under these facts, the Court finds that defendant has not purposefully

availed itself of the laws and privileges of the Commonwealth such that it could
reasonably foresee being haled into a Massachusetts courtroom. The

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constitutional requirements for personal jurisdiction are not satisfied, and the
defendont's motion to dismiss the Amended Complaint for lack of personal
Jurisdiction is granted.

It is SO ORDERED.

September 28, 2001
DATE

George A. O'Toole, Jr.

DISTRICT JUDGE

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UNITED STATES DISTRICT COURT
hFOR THE DISTRICT OF MASSACHUSETTS

IN RE PHARMACEUTICAL INDUSTRY ) MDL No. 1456
AVERAGE WHOLESALE PRICE )
LITIGATION ) CIVIL ACTION: 01-CV-12257 PBS
)
)

THIS DOCUMENT RELATES TO: ) Judge Patti B. Saris

)
County of Suffolk v. Abbot Laboratories, )
Inc., et al. )

)

ORDER
For the reasons set forth in the Memorandum of Law of Novartis Pharmaceuticals Corporation
in Support of Its Motion to Dismiss the County of Suffolk’s Amended Complaint, IT IS HEREBY
ORDERED as follows: The Court ALLOWS the motion to dismiss and dismisses with prejudice as
to Novartis Pharmaceuticals Corporation all claims in the County of Suffolk’s Amended Complaint.

Dated: 2003

PATTI B. SARIS, USDJ

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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

IN RE PHARMACEUTICAL INDUSTRY | M.D.L. No. 1456

AVERAGE WHOLESALE PRICE

LITIGATION Civil Action No. 01-12257-PBS
Judge Patti B. Saris

THIS DOCUMENT RELATES TO:

County of Suffolk v. Abbott Labs., Inc., et
al., Civil Action No. 03-01643-PBS

INDIVIDUAL MEMORANDUM OF PFIZER, INC. AND AGOURON
PHARMACEUTICALS, INC. IN SUPPORT OF MOTION TO
DISMISS SUFFOLK COUNTY’S AMENDED COMPLAINT

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The Suffolk County Amended Complaint fails to meet the requirements for pleading
fraud established by Rule 9(b) as articulated by this Court. See In re Pharmaceutical Indus.
AWP Litig., 263 F. Supp. 2d 172 (D. Mass. 2003) (the “May 13 Order”).! With respect to the
AWP claims, Suffolk County alleges a “spread” between published AWPs and what it calls
“Estimated True AWPs” for certain drugs. Suffolk does not allege sufficient conduct by Pfizer
to make this “spread” fraudulent. Suffolk’s claims related to all other, unspecified Pfizer drugs —
for which there is nothing even approaching specific fraud allegations — are too limited and,
therefore, must be dismissed. Moreover, plaintiff's allegations of specific “Best Price”
misconduct are too sparse to support its vast claims. Each of these claims must be dismissed.

I. SUFFOLK COUNTY FAILS TO SPECIFICALLY ALLEGE THAT PFIZER .
ENGAGED IN ANY FRAUD RELATED TO AWP.

The Suffolk Complaint contains a chart that purports to show an AWP “spread” for ten
drugs manufactured by Pfizer? Compl. [ 268. Other than alleging that the chart is based on
Suffolk’s unspecified “investigation,” the Complaint does not allege the source of the materials,
how they were developed, or how they evidence fraudulent conduct by Pfizer. Federal Rule of
Civil Procedure 9(b) requires allegations of fraudulent conduct to be stated with particularity.
“This Circuit takes very seriously the pleading requirements set forth by Rule 9(b).. .” Lirette v.
Shiva Corp., 27 F. Supp. 2d 268, 284 (D. Mass. 1998) (citing Romani y. Shearson Lehman

Hutton, 929 F.2d 875, 878 (1st Cir. 1991)).

1/ Pfizer, Inc. and its wholly-owned subsidiary, Agouron Pharmaceuticals, Inc., (hereinafter,
collectively, “Pfizer’’) join in and incorporate by reference the Consolidated
Memorandum in Support of Defendants’ Motion to Dismiss the Amended Complaint,
filed September 15, 2003 (“Consolidated Memorandum”). This memorandum addresses
those issues specific to Pfizer. Pfizer also joins in and incorporates by reference the
arguments made in the briefs filed by the other defendants to the extent they apply to
Pfizer.

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To survive a motion to dismiss, a complaint alleging fraud must specify (1) the

statements that the plaintiff contends were fraudulent, (2) the identity of the

speaker, (3) where and when the statements were made, and (4) why the

statements were fraudulent.

Id. (citing Suna v. Bailey Corp., 107 F.3d 64, 68 (1st Cir. 1997).

For an allegation concerning an AWP “spread” to be sufficient, therefore, it must include
an allegation that Pfizer made specific representations that the AWP represented something that
it did not. The complaint fails to meet this burden, because it fails to specify the time, place, or
manner of any specific statements about the AWP, other than the mere fact that they were
published. See Feinstein, 942 F.2d 34, 42 (1st Cir. 1991) (RICO claims relying on mail and wire
fraud as predicate acts must “state the time, place and content of the alleged mail and wire
communications perpetrating the fraud.”). Nowhere is there any claim that Pfizer represented
anything to anyone about any aspect of its prices. For this reason, the AWP claims against Pfizer
should be dismissed.

Moreover, based on these thinly-pleaded facts, Suffolk seeks to implicate nearly every
Pfizer drug, by adding a conclusory allegation that Pfizer “engaged in similar inflationary
practices” for “all covered drugs.” Compl. 1 269. This type of general allegation does not,
however, satisfy the heightened pleading standard of Rule 9(b). “Mere allegations of fraud,
corruption or conspiracy, averments to conditions of mind, or referrals to plans and schemes are
too conclusional to satisfy the particularity requirement.” Doyle v. Hasbro, Inc., 103 F.3d 186,
194 (1st Cir. 1996) (quoting Hayduk v. Lanna, 775 F.2d 441, 444 (1st Cir. 1985)); see also

Curtis v. Duffy, 742 F. Supp. 34, 38 (D. Mass. 1990) (“salt[ing] the complaint with the words

‘falsely’ and ‘fraudulently’ is not sufficient to meet the specificity requirement of Rule 9(b).”).

2/ Exhibit A also references an “Estimated Actual AWP” for Viracept, manufactured by
Agouron, Pfizer’s wholly-owned subsidiary.

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Likewise, it is impermissible for Suffolk County to seek to expand its flawed allegations
about certain Pfizer products to summarily cover the entire Pfizer product portfolio. Rather than
repeat arguments set forth in Pfizer’s Individual Memorandum in Support of the Motion to
Dismiss the AMCC, Pfizer incorporates those arguments by reference here. In sum, Rule 9(b)
does not permit Suffolk to assert claims arising from drugs about which there has been no
specific allegation of fraud.

Il. SUFFOLK COUNTY FAILS TO ALLEGE “BEST PRICE” FRAUD CLAIMS
WITH SUFFICIENT PARTICULARITY.

The allegations related to Pfizer’s participation in the alleged “Best Price” scheme are
even more sparse. Under the reasoning of the May 13 Order, any “Best Price” claims must
require, on a drug-by-drug basis, allegations of either (1) purchases at a lower price than the best
price used to calculate the rebates to the states or (2) specific sales improperly excluded from
calculation of the Average Manufacturer Price (AMP). See also LaCorte v. Merck & Co., Inc.,
No. 99-3807, slip op. at 6 (E.D. La. Aug. 27, 2003) (attached as Exh. R to Consolidated
Memorandum) (best price allegations sufficient to meet Rule 9(b) must include dates of best
price report submissions, name of company that submitted the report, and description of why the
submission was false).

While there are general allegations of “Pfizer’s failures to report Best Price as required by
federal and state rebate statutes,” Compl. {] 270, there are no specific, drug-by-drug allegations of
the “best prices” that Pfizer provided to CMS, or of “better prices” on which the rebates should
have been based. To the contrary, Suffolk County admits that the only specific, drug-by-drug
allegations in the Complaint — those collected in Exhibit A and excerpted throughout — do not

account for any alleged Best Price conduct. Compl., 1 124. Suffolk County does not allege any

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conduct specific to any drug.? Rule 9(b) does not permit Suffolk County to assert claims against
Pfizer arising from drugs about which there have been no specific fraud allegations. See, e.g., In
re Newbridge Networks Secs. Litig., 962 F. Supp. 166, 170-80 (D.D.C. 1997) (holding that
allegations regarding certain claims must be dismissed because they did not satisfy Rule 9(b) but
permitting other claims to proceed because they had been pleaded with particularity); Hunt v.
Schotz, Simon, Miller & Co., No. 87-2520, 1988 WL 188292, * 2-4 (D. N.J. Aug. 17, 1988)
(permitting action to proceed only with respect to those fraud allegations that were pleaded with
particularity under Rule 9(b)); Ohman v. Kahn, 685 F. Supp. 1302, 1307-09 (S.D.N.Y. 1988)
(same). These claims must, therefore, be dismissed.

I. CONCLUSION.

In its zeal to challenge the entire U.S. pharmaceutical industry, plaintiff's indiscriminate
attack on Pfizer treats the pleading requirement of Rule 9(b) as a luxury, not a necessity. Suffolk.
County’s allegations of fraudulent conduct by Pfizer with respect to AWPs are too vague as to
the drugs mentioned by name and too limited as to the remaining “covered drugs,” which are
subject to no specific fraud allegations. Moreover, Suffolk County alleges no conduct
whatsoever ~ let alone the specific allegations of fraud required by Rule 9(b) — to support its Best

Price claims. These claims must, therefore, be dismissed.

The only reference to a specific Pfizer drug is a general reference to an instance where
Pfizer settled allegations related to Lipitor without admitting to any wrongdoing, Even in
this case, plaintiffs do not allege any drug-specific conduct sufficient to meet Rule 9(b).

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Dated: September 15, 2003

1-WaA/2050906.1

Respectfully submitted,

Mark D. Smith (BBO #542676)
Laredo & Smith LLP

15 Broad Street, Suite 600
Boston, MA 02109

(617) 367-7984 (telephone)
(617) 367-6475 (facsimile)

John C. Dodds, Esq.

Morgan Lewis & Bockius LLP
1701 Market Street
Philadelphia, PA 19103

(215) 963-5000 (telephone)
(215) 963-5001 (facsimile)

Scott A. Stempel, Esq.

Gregory F. Wells, Esq. _
Morgan Lewis & Bockius LLP
1111 Pennsylvania Avenue, N.W.
Washington, D.C. 20004

(202) 739-3000 (telephone)

(202) 739-3001 (facsimile)

Attorneys for Defendant Pfizer Inc.
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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

IN RE PHARMACEUTICAL INDUSTRY
AVERAGE WHOLESALE PRICE
LITIGATION

THIS DOCUMENT RELATES TO

County of Suffolk v. Abbott Labs., Inc., et
al., Civil Action No. 03-01643-PBS

M.D.L. No. 1456
Civil Action No. 01-12257-PBS

Judge Patti B. Saris

INDIVIDUAL MEMORANDUM OF PHARMACIA CORPORATION AND
PHARMACIA & UPJOHN, INC. INSUPPORT OF MOTION TO
DISMISS SUFFOLK COUNTY’S AMENDED COMPLAINT
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The Suffolk County Amended Complaint fails to meet the requirements for pleading
fraud established by Rule 9(b) as articulated by this Court. See In re Pharmaceutical Indus.
AWP Litig., 263 F. Supp. 2d 172 (D. Mass. 2003) (the “May 13 Order”).! With respect to the
AWP claims, Suffolk County alleges a “spread” between published AWPs and its vague
“Estimated True AWP” for a fraction of the drugs for which it ultimately seeks relief. Suffolk
does not allege sufficient conduct by Pharmacia to make this “spread” fraudulent. Suffolk’s
claims related to all other, unnamed drugs — none of which are subject to specific fraud
allegations — are too limited and, therefore, must be dismissed. Moreover, plaintiff's allegations
of specific “Best Price” misconduct are too sparse to support its vast claims. Each of these
claims must be dismissed.

I. SUFFOLK COUNTY FAILS TO SPECIFICALLY ALLEGE THAT PHARMACIA
ENGAGED IN ANY FRAUD RELATED TO AWP. .

The Suffolk Complaint contains a chart that purports to show an AWP “spread” for ten
drugs manufactured by “Pfizer” (only two of which were manufactured by Pharmacia).” Compl.
0 268. Other than alleging that the chart is based on Suffolk’s unspecified “investigation,” the

Complaint does not allege the source of the materials, how they were developed, or how they

1/ Pharmacia Corp. and Pharmacia & Upjohn, Inc. join in and incorporate by reference the
Consolidated Memorandum in Support of Defendants’ Motion to Dismiss the Amended
Complaint, filed September 15, 2003 (“Consolidated Memorandum”). This
memorandum addresses those issues specific to Pharmacia. Pharmacia also joins in and
incorporates by reference the arguments made in the briefs filed by the other defendants
to the extent they apply to Pharmacia.

2/ Suffolk County also lumps Sanofi-Synthelabo, Inc. into its allegations concerning
“Pfizer.” Sanofi-Synthelabo, Inc is an independent entity that was neither owned nor
controlled by Pfizer or Pharmacia during the relevant time period. Sanofi-Synthelabo, Inc
manufactured Ambien, to which Pharmacia had the exclusive North American marketing
rights for a portion of the relevant time period. To the extent that Suffolk County seeks
relief for Pharmacia’s marketing of Ambien, those allegations should be dismissed for the
same reasons discussed herein.
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evidence fraudulent conduct by Pharmacia. Federal Rule of Civil Procedure 9(b) requires
allegations of fraudulent conduct to be stated with particularity. “This Circuit takes very
seriously the pleading requirements set forth by Rule 9(b)...” Lirette v. Shiva Corp., 27 F.
Supp. 2d 268, 284 (D. Mass. 1998) (citing Romani v. Shearson Lehman Hutton, 929 F.2d 875,
878 (1st Cir. 1991)).

To survive a motion to dismiss, a complaint alleging fraud must specify (1) the

statements that the plaintiff contends were fraudulent, (2) the identity of the

speaker, (3) where and when the statements were made, and (4) why the

statements were fraudulent.

Id. (citing Suna v. Bailey Corp., 107 F.3d 64, 68 (1st Cir. 1997).

For an allegation concerning an AWP “spread” to be sufficient, therefore, it must include
an allegation that Pharmacia made specific representations that the AWP represented something
that it did not. The complaint fails to meet this burden, because it fails to specify the time, place,
or manner of any specific statements about the AWP, other than the mere fact that they were
published. See Feinstein, 942 F.2d 34, 42 (1st Cir. 1991) (RICO claims relying on mail and wire
fraud as predicate acts must “‘state the time, place and content of the alleged mail and wire
communications perpetrating the fraud.”).’ Nowhere is there any claim that Pharmacia
represented anything to anyone about any aspect of its prices. For this reason, the AWP claims
against Pharmacia should be dismissed.

Moreover, based on these thinly-pleaded facts, Suffolk seeks to implicate nearly every
Pharmacia drug, by adding a conclusory allegation that Pharmacia “engaged in similar
inflationary practices” for “all covered drugs.” Compl. [] 269. This type of general allegation
does not, however, satisfy the heightened pleading standard of Rule 9(b). “Mere allegations of

fraud, corruption or conspiracy, averments to conditions of mind, or referrals to plans and

schemes are too conclusional to satisfy the particularity requirement.” Doyle v. Hasbro, Inc.,
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103 F.3d 186, 194 (Ist Cir. 1996) (quoting Hayduk v. Lanna, 775 F.2d 441, 444 (1st Cir. 1985));
see also Curtis v. Duffy, 742 F. Supp. 34, 38 (D. Mass. 1990) (“salt[ing] the complaint with the
words ‘falsely’ and ‘fraudulently’ is not sufficient to meet the specificity requirement of Rule
9(b).”).

Likewise, it is not sufficient that Suffolk County makes more specific allegations with
regard to other drugs sold by Pharmacia. Rather than repeat arguments set forth in Pharmacia’s
Individual Memorandum in Support of the Motion to Dismiss the AMCC, Pharmacia
incorporates those arguments by reference here. In sum, Rule 9(b) does not permit Suffolk to
assert claims arising from drugs about which there has been no specific allegation of fraud.

I. SUFFOLK COUNTY FAILS TO ALLEGE “BEST PRICE” FRAUD CLAIMS
WITH SUFFICIENT PARTICULARITY.

The allegations related to Pharmacia’s participation in the alleged “Best Price” scheme
are even more sparse. Under the reasoning of the May 13 Order, any “Best Price” claims must
require, on a drug-by-drug basis, allegations of either (1) purchases at a lower price than the best
price used to calculate the rebates to the states or (2) specific sales improperly excluded from
calculation of the Average Manufacturer Price (AMP). See also LaCorte v. Merck & Co., Inc.,
No. 99-3807, slip op. at 6 (E.D. La. Aug. 27, 2003) (attached as Exh. R to Consolidated
Memorandum) (best price allegations sufficient to meet Rule 9(b) must include dates of best

price report submissions, name of company that submitted the report, and description of why the
submission was false).

While there are general allegations of “Pharmacia’s failures to report Best Price as
required by federal and state rebate statutes,” Compl. [] 270, there are no specific, drug-by-drug
allegations of the “best prices” that Pharmacia provided to CMS, or of “better prices” on which

the rebates should have been based. To the contrary, Suffolk County admits that the only
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specific, drug-by-drug allegations in the Complaint — those collected in Exhibit A and excerpted
throughout — do not account for any alleged Best Price conduct. Compl., ] 124. Suffolk County
does not allege any conduct specific to any Pharmacia drug. Rule 9(b) does not permit Suffolk
County to assert claims against Pharmacia arising from drugs about which there have been no
specific fraud allegations. See, e.g., In re Newbridge Networks Secs. Litig., 962 F. Supp. 166,
170-80 (D.D.C. 1997) (holding that allegations regarding certain claims must be dismissed
because they did not satisfy Rule 9(b) but permitting other claims to proceed because they had
been pleaded with particularity); Hunt v. Schotz, Simon, Miller & Co., No. 87-2520, 1988 WL
188292, * 2-4 (D. N.J. Aug. 17, 1988) (permitting action to proceed only with respect to those
fraud allegations that were pleaded with particularity under Rule 9(b)); Ohman v. Kahn, 685 F.
Supp. 1302, 1307-09 (S.D.N.Y. 1988) (same). These claims must, therefore, be dismissed.

il, CONCLUSION.

In its zeal to challenge the entire U.S. pharmaceutical industry, plaintiff s indiscriminate
attack on Pharmacia treats the pleading requirement of Rule 9(b) as a luxury, not a necessity.
Suffolk County’s allegations of fraudulent conduct by Pharmacia with respect to AWPs are too
vague as to the drugs mentioned by name and too limited as to the remaining “covered drugs,”
which are subject to no specific fraud allegations. Moreover, Suffolk County alleges no conduct
whatsoever — let alone the specific allegations of fraud required by Rule 9(b) — to support its Best

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Price claims. These claims must, therefore, be dismissed.
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Respectfully submitted,

ve fb SA >

Mark D. Smith (BBO #542676)
Laredo & Smith LLP

15 Broad Street, Suite 600
Boston, MA 02109

(617) 367-7984 (telephone)
(617) 367-6475 (facsimile)

John C. Dodds, Esq.

Morgan Lewis & Bockius LLP
1701 Market Street
Philadelphia, PA 19103

(215) 963-5000 (telephone)
(215) 963-5001 (facsimile)

Scott A. Stempel, Esq.

Gregory F. Wells, Esq.

Morgan Lewis & Bockius LLP
1111 Pennsylvania Avenue, N.W.
Washington, D.C. 20004

(202) 739-3000 (telephone)

(202) 739-3001 (facsimile)

Dated: September 15,2003 Attorneys for Defendant Pharmacia Inc.
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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

IN RE PHARMACEUTICAL INDUSTRY MDL NO. 1456
AVERAGE WHOLESALE PRICE
LITIGATION CIVIL ACTION NO. 01-12257-PBS
Judge Patti B. Saris
THIS DOCUMENT RELATES TO:
COUNTY OF SUFFOLK
Plaintiff,

Vv.

ABBOTT LABORATORIES, INC. et al.

Nee ree” Snnee? Neee” Steer” Nee” Seer Nua “neue eer? Neer! Nee? Nee Nee! Nee! Nee! See” See”

Defendants.

MEMORANDUM OF SANOFI-SYNTHELABO INC.
IN SUPPORT OF ITS MOTION TO DISMISS

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INTRODUCTION

Despite its purported “investigation” and ample opportunity to draft an amended
complaint that complies with this Court’s May 13, 2003 Order (“Order”), plaintiff's allegations
against Sanofi-Synthelabo Inc. (“Sanofi”) are cursory, confusing, and wholly inadequate to
support the claims of fraud that form the basis of this action. The Complaint is unclear on even
the most basic facts, including who Sanofi is and whether plaintiff purchased any drug
manufactured or sold by Sanofi, and fails to allege with any degree of particularity any tortious
act, omission, or fact attributable to Sanofi. That plaintiff cannot identify a basis for its claim is
not surprising given that no government entity -- including New York -- has named Sanofi in any
action. Sanofi is not even a defendant in the AMCC. Plaintiff's claims against Sanofi should be
dismissed with prejudice pursuant to Rules 9(b), 12(b)(1), and 12(b)(6) of the Federal Rules of .

Civil Procedure.!

BACKGROUND

A total of three paragraphs of the entire 419-paragraph Complaint relate to Sanofi. Of the
three paragraphs, not a single one pleads facts which, if proved, would constitute a fraud.? The first
paragraph provides Sanofi’s name and address (never alleging any affiliation with any defendant,
including Pfizer), and conclusorily states, “Sanofi manufactures and/or sells prescription drugs with
false and inflated AWPs that are paid for by Medicaid in Suffolk County, including such medications
as Plavix® and Ambien®.” Compl. {49.

The second paragraph in the Complaint referencing Sanofi seemingly contradicts the first,

by incorrectly identifying Sanofi only as a subsidiary of Pfizer and including Sanofi in the definition

' Sanofi fully adopts and incorporates by reference the arguments set forth in the Consolidated Motion to Dismiss
the Amended Complaint and Supporting Memorandum of Law.

? For ease of reference, the three paragraphs that relate to Sanofi are set forth in their entirety at Exhibit A.
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of “Pfizer Defendants” (a term that is used, with one exception discussed below, only in this
paragraph), and by conclusorily stating that the Pfizer Defendants “routinely has [sic] reported or
caused to be reported, inflated AWPs, resulting in overcharges to Suffolk” and then listing the
seventeen drugs for which the “Pfizer defendants reported false and inflated AWPs.” Compl. 4268.
The Complaint does not include any allegations regarding “Sanofi Defendants.” In the list of “Pfizer
Defendant” drugs, none are ever clearly alleged to be manufactured ‘by Sanofi, and only one --
Ambien -- is even remotely connected in the Complaint to Sanofi. Whereas plaintiff states in 749 of
the Complaint that Ambien is manufactured and/or sold by Sanofi, it states in Appendix B that
Ambien is manufactured by “Pfizer (or Sanofi).” Sanofi is not referenced at all in Appendix B with
regard to any of the other sixteen “Pfizer Defendant” drugs -- only Pfizer is listed as their
manufacturer. To further obfusctate matters, Plavix is identified in 449 as a Sanofi drug, but plaintiff
later lists Plavix as solely a Bristol Myers Squibb drug, and alleges that Bristol Myers Squibb (and
not Sanofi) improperly inflated Plavix’s AWP. Compl. 4932, 194.4 The internal inconsistency in
the Complaint about such fundamental facts as to which company manufactures or sells Ambien or
Plavix, which company sets their AWPs or reports their “best prices,” or which (if any) other drugs
form the basis for plaintiff's claim against Sanofi (and not Pfizer or Bristol Myers Squibb), illustrates
the unspecific and perplexing nature of plaintiff's allegations against Sanofi.

The last paragraph in the Complaint that conceivably could relate to Sanofi is the only
paragraph in the Complaint (other than 7268) that refers to the “Pfizer Defendants.” Compl. 341 (v).

This paragraph does not mention Sanofi at all, and merely parrots the language of the Manufacturer-

* The rest of SectionVI of the Complaint refers only to other defendants and to “Pfizer” and therefore by plaintiffs
own definitions do not relate to Sanofi. Compl. 9269-79.

* Appendix B lists Plavix as manufactured by “Bristol Myers Squibb (or Sanofi).” Plaintiff does not appear to be -
alleging any claims against Sanofi based on Plavix. Sanofi is not included as a Bristol Myers Squibb defendant nor
mentioned in any discussion within the Complaint regarding Plavix. To the extent plaintiff is asserting such a claim
against Sanofi, it too must be dismissed for the reasons stated in this motion.

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Publisher Enterprise count employed for every other defendant in the Complaint, inserting without
explanation or limitation, the term “Pfizer Defendants.” Jd. Even assuming that plaintiff has
satisfactorily alleged that Sanofi manufactured or sold Ambien or Plavix or played any role in setting
their AWPs or “best prices” (which plaintiff has not), not one of the three paragraphs regarding
Sanofi in the Complaint contains anything other than bald, nonspecific allegations, which do nothing
more than underscore the absence of any specific facts as to Sanofi.
ARGUMENT
I. Plaintiff's Claims Must Be Dismissed For Lack Of Particularity

A. Plaintiff Fails To Provide Any Examples Of Unlawful Conduct Involving
Sanofi.

Contrary to the requirement that plaintiff make allegations specific to each defendant,
nowhere in the 193-paragraph section regarding specific allegations against defendants (Section
VI of the Complaint) does plaintiff ascribe any allegedly tortious conduct to Sanofi. Not a single
paragraph in this section is dedicated to Sanofi. Instead, Sanofi is haphazardly lumped into one
paragraph related to the “Pfizer defendants” that only conclusorily alleges that the “Pfizer
defendants” reported or caused to be reported false and inflated AWPs for a list of drugs, to only
one of which Sanofi is alleged to have had any connection. Compl. at 268. The Complaint
does not include a single example of unlawful conduct involving Sanofi. For this reason alone,

all of plaintiff's claims against Sanofi should be dismissed.

> Where, as here, there is no allegation of conspiracy or other concerted action among the defendants, it is critical
that the Complaint make its allegations with specificity as to each defendant. As Judge Keeton held in dismissing
Goebel v. Schmid Bros., Inc., “when multiple defendants are involved in cases arising in this circuit, Rule 9(b)
requires that fraud be alleged particularly as to each defendant.” 871 F.Supp 68, 73 (D. Mass. 1994) (emphasis
added). Accord Sebago, Inc. v. Beazer East, Inc., 18 F.Supp.2d 70, 79 (D. Mass. 1998) (“Where, as here, the
complaint involves multiple defendants, then ‘each defendants’ role must be particularized with respect to their
alleged involvement in the fraud’”) (quoting Kuney Int'l SA y. Dilanni, 746 F.Supp. 234, 237) (D. Mass. 1990)
(emphasis added).
